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                  Thomas-Jensen
                   Affirmation



                      Exhibit # 62
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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND

 STATE OF NEW YORK, ET AL.

         Plaintiffs,

 v.                                                    C.A. No. 1:25-cv-00039-JJM-PAS

 DONALD TRUMP, in his Official
 Capacity as President of the United
 States, et al.

         Defendants


                                 Declaration of Maria Moreira
                                  Interim Executive Director
                                     World Farmers, Inc.

      Maria Moreira declares as follows:

        1.     I am the Interim Executive Director of the World Farmers, Inc. (World

Farmers). World Farmers is a 501(c)(3) nonprofit which advocates for and supports small-

scale immigrant and refugee vegetable farmers from farm to market with access to land,

farming infrastructure, and technical assistance in agricultural production, marketing,

business development, and land acquisition. Among other things, World Farmers solicits

grant money from other donors and government entities, including the federal government, to

fund our work.

        2.     I have personal knowledge of the matters set forth below or have knowledge of

the matters based on my review of information and records gathered by my staff.

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      3.     I am providing this declaration to explain some of the adverse impacts of the

threatened and actual suspensions and impoundments of federal grant funding resulting from:

(1) President Trump’s Executive Orders; (2) the memorandum “Temporary Pause of Agency

Grant, Loan, and Other Financial Assistance Programs,” Matthew J. Vaeth, Acting Director

of the Office of Management and Budget (January 28, 2025) (“OMB Memo”); and (3) other

federal agency actions.

      4.     World Farmers continues to see impacts from the OMB Memo and resulting

federal funding suspensions. In 2022, World Farmers was awarded a $ 749,810 grant by the

U.S. Department of Agriculture Office of Partnerships and Public Engagement, award

number AO222501X443G036. This grant program is funded by the federal Outreach and

Assistance for Socially Disadvantaged Farmers and Ranchers and Veteran Farmers and

Ranchers Program (OASDFR or “2501” Program).

      5.     World Farmers’ grant project was developed to align with the 2501 grant

program priorities to: Assist socially disadvantaged or veteran farmers and ranchers in

owning and operating successful farms and ranches; Improve participation among socially

disadvantaged or veteran farmers and ranchers in USDA programs; Build relationships

between current and prospective farmers and ranchers who are socially disadvantaged or

veterans and USDA’s local, state, regional, and National offices; Introduce agriculture-

related information to socially disadvantaged or veteran farmers and ranchers through

innovative training and technical assistance techniques; and Introduce agricultural education

targeting youth and beginning socially disadvantaged and veteran farmers and ranchers in

rural and persistent poverty communities. Through these program priorities, our project has

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been successful and has made a significant impact within our project’s target audience.

      6.     World Farmers’ grant is fully funded, and we utilize the federal government’s

ezFedGrants portal to submit our financial and performance reports to USDA program staff.

      7.     World Farmers does not presently have the ability to submit our reports directly

into the portal. Below are screenshots to demonstrate the absence of any actionable items

once “Report” is selected. The first screenshot shows World Farmers’ grant in the

ezFedGrants system. The second screenshot shows no “Actionable Item” when the report

function is selected, offering no mechanism to attach and submit our report.




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       8.     We continue to be concerned that system errors and portal changes such as this

show us as non-compliant and limit our ability to freely deliver on our reporting requirements

as dictated by our funder, as shown in the below screenshot of a PowerPoint slide provided

to all grantees at time of onboarding and award. The system must be adjusted to ensure clear

communication on grant and report status between funder and grantee. Changes in the system

without formal notice from our funder, in conjunction with notice from other grantees of their

funds being withheld, seeds doubt and concern in our ability to continue to implement this

project as awarded.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is
true and correct to the best of my knowledge.


Dated: __February 6, 2025____________
                                                  Maria Moreira




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